             Case
              Case2:14-cr-00137-KJD-NJK
                    2:14-cr-00137-KJD-NJK Document
                                          Document98  Filed04/20/15
                                                   97 Filed 04/21/15 Page
                                                                      Page11
                                                                           ofof
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   KIMBERLY M. FRAYN
     Assistant United States Attorney
 3   Lloyd D. George United States Courthouse
     333 Las Vegas Boulevard South, Suite 5037
 4   Las Vegas, Nevada 89101
     (702)388-6336
 5   Attorneys for the Government

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 8                          UNITED STATES DISTRICT COURT
 9
                                 DISTRICT OF NEVADA
                                                   -oOo-
10   UNITED STATES OF AMERICA,                        )
                                                      )   2:14-CR-00137-KJD-NJK
11             Plaintiff,                             )
        v.                                            )
                                                      )   STIPULATION TO EXTEND
12
                                                      )   GOVERNMENT’S TIME TO
     MARIA GHEORGHE,                                  )   RESPOND TO DEFENDANT’S
13
                                                      )   PRETRIAL MOTION (Government’s
                Defendant.
14                                                        First Request)

15
              IT IS HEREBY STIPULATED AND AGREED by and between, Daniel G. Bogden,
16
     United States Attorney, District of Nevada, Kimberly M. Frayn, Assistant United States
17
     Attorney, representing the United States of America, Plaintiff, and John G. George, Esq.,
18
     counsel for the Defendant MARIA GHEORGHE, that the Government shall have an additional
19
     forty five days from the April 22, 2014 date recently set by the Court (doc. no. 96), that is, up to
20
     and including Wednesday June 3, 2015, in which to respond to the defendant’s pretrial motion,
21
     and the defendant will have up to and including June 12, 2015, in which to file any replies in the
22
     above-captioned matter currently scheduled for trial on July 13, 2015.
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             Case
              Case2:14-cr-00137-KJD-NJK
                    2:14-cr-00137-KJD-NJK Document
                                          Document98  Filed04/20/15
                                                   97 Filed 04/21/15 Page
                                                                      Page22
                                                                           ofof
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 1            This stipulation is entered into for the following reasons:

 2            1.     Both counsel for defendant and counsel for the Government agree to the above-

 3   requested extension of time. Defendant MARIA GHEORGHE not incarcerated and counsel for

 4   the defendant has represented that the defendant does not oppose the proposed extension of time

 5   for the Government to file its responses to the defendant’s pretrial motion.

 6            2.     Government counsel, and counsel for defendant MARIA GHEORGHE, and

 7   counsel for his co-defendants are attempting to negotiate a plea resolution to this matter, which

 8   would obviate the need to litigate the pretrial motion for a bill of particulars raised by the

 9   defendant in doc. no. 67.

10            3.     This extension of time to file the Government’s responses to the pretrial motion

11   is not sought merely for purposes of delay. Government counsel has unexpectedly been out of

12   the office periodically during the last three weeks due to an illness. The additional time

13   requested herein is necessary to allow the Government sufficient time within which to be able to

14   effectively and thoroughly investigate, research, and respond appropriately to the defendant’s

15   motion, if the plea negotiations fail. Trial is currently set for this matter on July 13, 2015, and

16   the extension requested herein should not disturb the parties’ abilities to proceed to trial on that

17   date.

18            4.     The parties agree that the Government shall have an additional forty five days,

19   up to and including forty five days from the April 22, 2014 date recently set by the Court (doc.

20   no. 96), that is, up to and including Wednesday June 3, 2015, in which to respond to the

21   defendant’s pretrial motion, and the defendant will have up to and including June 12, 2015, in

22   which to file any replies.

23            5.     Denial of this request for additional time as set forth above would deny the
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          Case
           Case2:14-cr-00137-KJD-NJK
                 2:14-cr-00137-KJD-NJK Document
                                       Document98  Filed04/20/15
                                                97 Filed 04/21/15 Page
                                                                   Page33
                                                                        ofof
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 1   parties the opportunity of having continuity of counsel, taking into account the exercise of due

 2   diligence. Further, denial of this request could result in a miscarriage of justice and the ends of

 3   justice served by granting this request outweigh the best interest of the public and the defendant

 4   in a speedy trial.

 5           6.      The additional time requested by this stipulation is excludable in computing the

 6   time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

 7   United States Code, Sections 3161(h)(1)(D), and 3161(h)(7)(A), considering the factors under

 8   Title 18, United States Code, Section 3161(h)(7)(B)(i) and (iv).

 9           Although this is the fifth request for an extension, this is the Government’s first request

10   to extent the Government’s time to respond to the defendant’s pretrial motion.

11           DATED this 20th day of April, 2015.

12

13

14    /s/John G. George, Esq.                      /s/Kimberly M. Frayn
     JOHN G. GEORGE, ESQ.,                         KIMBERLY M. FRAYN
15   Counsel for Defendant                         Assistant U.S. Attorney

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              Case2:14-cr-00137-KJD-NJK
                    2:14-cr-00137-KJD-NJK Document
                                          Document98  Filed04/20/15
                                                   97 Filed 04/21/15 Page
                                                                      Page44
                                                                           ofof
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 1                          UNITED STATES DISTRICT COURT
 2                               DISTRICT OF NEVADA
                                                   -oOo-
 3
     UNITED STATES OF AMERICA,                       )
 4                                                   ) 2:14-CR-00137-KJD-NJK
               Plaintiff,                            )
        v.                                           )
 5                                                   ) ORDER
                                                     )
 6   MARIA GHEORGHE,                                 )
                                                     )
 7              Defendant.

 8
              Based on the pending Stipulation between the defense and the government, and good
 9
     cause appearing therefore, the Court hereby finds that:
10
              1.      Both counsel for defendant and counsel for the Government agree to the above-
11
     requested extension of time. Defendant MARIA GHEORGHE not incarcerated and counsel for
12
     the defendant has represented that the defendant does not oppose the proposed extension of time
13
     for the Government to file its responses to the defendant’s pretrial motion.
14
              2.      Government counsel, and counsel for defendant MARIA GHEORGHE, and
15
     counsel for his co-defendants are attempting to negotiate a plea resolution to this matter, which
16
     would obviate the need to litigate the pretrial motion for a bill of particulars raised by the
17
     defendant in doc. no. 67.
18
              3.      This extension of time to file the Government’s responses to the pretrial motion
19
     is not sought merely for purposes of delay. Government counsel has unexpectedly been out of
20
     the office periodically during the last three weeks due to an illness. The additional time
21
     requested herein is necessary to allow the Government sufficient time within which to be able to
22
     effectively and thoroughly investigate, research, and respond appropriately to the defendant’s
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             Case
              Case2:14-cr-00137-KJD-NJK
                    2:14-cr-00137-KJD-NJK Document
                                          Document98  Filed04/20/15
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 1   motion, if the plea negotiations fail. Trial is currently set for this matter on July 13, 2015, and

 2   the extension requested herein should not disturb the parties’ abilities to proceed to trial on that

 3   date.

 4            4.     The parties agree that the Government shall have an additional forty five days,

 5   up to and including forty five days from the April 22, 2014 date recently set by the Court (doc.

 6   no. 96), that is, up to and including Wednesday June 3, 2015, in which to respond to the

 7   defendant’s pretrial motion, and the defendant will have up to and including June 12, 2015, in

 8   which to file any replies.

 9   5.       Denial of this request for additional time as set forth above would deny the parties the

10   opportunity of having continuity of counsel, taking into account the exercise of due diligence.

11   Further, denial of this request could result in a miscarriage of justice and the ends of justice

12   served by granting this request outweigh the best interest of the public and the defendant in a

13   speedy trial.

14            6.     The additional time requested by this stipulation is excludable in computing the

15   time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

16   United States Code, Sections 3161(h)(1)(D), and 3161(h)(7)(A), considering the factors under

17   Title 18, United States Code, Section 3161(h)(7)(B)(i) and (iv).

18                   THEREFORE, IT IS HEREBY ORDERED that the Government shall have an

19   additional an additional forty five days, up to and including up to and including Wednesday

20   June 3, 2015 in which to respond to the defendant’s pretrial motion; and

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           Case2:14-cr-00137-KJD-NJK
                 2:14-cr-00137-KJD-NJK Document
                                       Document98  Filed04/20/15
                                                97 Filed 04/21/15 Page
                                                                   Page66
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 1          IT IS FURTHER ORDERED that the defendant MARIA GHEORGHE will have up to

 2   and including June 12, 2015, in which to file her reply, if any, to the Government’s responses.

 3

 4

 5   DATED this 21st day of April, 2015.

 6

 7                                                ______________________________
                                                  HONORABLE NANCY J. KOPPE
 8                                                United States Magistrate Court
                                                                           JudgeJudge

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